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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 ARNULFO RODRIGUEZ-CASTELLANOS,)
                               )
 Petitioner,                   )
                               )
          v.                   )                     NO. 2:04-CR-80
                               )
 UNITED STATES OF AMERICA,     )                     (NO. 2:07-CV-27)
                               )
 Respondent.                   )



                           OPINION AND ORDER


      This matter is before the Court on the Motion under 28 U.S.C.

 § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

 Federal   Custody,   filed     by   the    Petitioner,        Arnulfo   Rodriguez-

 Castellanos, on January 26, 2007. For the reasons set forth below,

 this motion is DENIED. The Clerk is ORDERED to close the civil

 docket file.



 BACKGROUND

      Petitioner,     Arnulfo    Rodriguez-Castellanos,            along    with   13

 others,   was   charged   with      two    counts    in   a    twenty-two    count

 superceding indictment (D.E. # 37).            Pursuant to a Plea Agreement

 (D.E. # 270), Petitioner pleaded guilty to one count (Count Four)
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 charging him with distributing 500 grams or more of cocaine in

 violation of 21 U.S.C. § 841(a)(1).

      The plea agreement contained, inter alia, the following waiver

 of rights:

      e. I understand that the law gives a convicted person the
      right to appeal the conviction and the sentence imposed,
      I also understand that no one can predict the precise
      sentence that will be imposed, and that the Court has the
      jurisdiction and authority to impose any sentence within
      the statutory maximum set for my offense as set forth in
      this plea agreement; with this understanding and in
      consideration of the government’s entry into this plea
      agreement, I expressly waive my right to appeal or to
      contest my conviction and my sentence or the manner in
      which my conviction or my sentence was determined or
      imposed, to any Court on any ground, including any claim
      of ineffective assistance of counsel unless the claimed
      ineffective assistance of counsel related directly to
      this waiver or its negotiation, including any appeal
      under Title 18, United States Code, Section 3742 or any
      post-conviction proceeding, including but not limited to,
      a proceeding under Title 28, United States Code, Section
      2255.
 (See Plea Agreement ¶ 7(e))(emphasis added). At the change of plea

 hearing, Petitioner indicated that he understood this section, that

 he waived his right to appeal even on the basis of incompetence of

 counsel, that his waiver was knowing and voluntary, that no one

 forced him to agree to this waiver and that he was asking the Court

 to approve it as part of his plea agreement. In exchange for his

 guilty plea, the Government agreed to dismiss the other charge

 (Count One) against Petitioner (see Plea Agreement ¶ 7(d)), which

 the Court granted (D.E. # 344) on the Government’s motion. Also in

 exchange for his guilty plea the Government agreed to recommend

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 acceptance of responsibility contingent upon Petitioner’s continued

 demonstration of acceptance of responsibility. (See Plea Agreement

 ¶ 7(c).)

      Based on the pre-sentence investigation report, the Court

 sentenced the Petitioner to a term of imprisonment of eighty-seven

 months, the minimum under the U.S. Sentencing Guidelines for

 Petitioner’s    criminal   history    and   offense    level.     Instead    of

 appealing his sentence, Petitioner filed the instant motion.

      In the currently pending motion, Petitioner requests the Court

 to vacate his sentence on Count One of the superceding indictment.

 Because this Court dismissed Count One on June 20, 2006 (D.E. #

 344), Petitioner never pleaded guilty or was convicted on the

 charge contained Count One and the Court never sentenced Petitioner

 based on the charge contained in Count One, this Court construes

 the Petitioner’s request as pertaining to Count Four and, in the

 alternative, DENIES Petitioner’s request pertaining to Count One.

      Petitioner nominally asserts four separate grounds for relief

 in his motion. Because all alleged grounds form the basis for the

 same claim, this Court construes Petitioner’s motion as a single

 request to vacate his sentence based on his counsel’s ineffective

 assistance for failing to raise Petitioner’s status as a deportable

 alien as a grounds for a lighter sentence.           Defendant argues that

 he is entitled to adjustment of his sentence based on “collateral

 consequences [ ] necessarily based on [his] status as an alien.”


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 The Government argues that this motion should be denied due to

 Petitioner’s express waiver of his appellate rights.



 DISCUSSION
      Petitioner explicitly agreed to waive any appeal or post-

 conviction proceeding (e.g., 28 U.S.C. § 2255 petition) on any

 basis except for ineffective assistance of counsel during plea

 negotiations. (See Plea Agreement ¶7(e).) This type of waiver is

 enforceable so long as the waiver is “express and unambiguous” and

 made “knowingly and voluntarily.” See, e.g., Jones v. U.S., 167

 F.3d 1142, 1144 (7th Cir. 1999).

      Here, Petitioner does not argue that his waiver was invalid,

 nor does this Court have any reason to believe that the waiver was

 ambiguous or that it was not made knowingly and voluntarily.

 Indeed, at the change of plea hearing held on February 13, 2006,

 Petitioner specifically indicated that he understood paragraph 7(e)

 of the plea agreement, that his waiver was knowing and voluntary,

 that no one forced him to agree to this waiver and that he was

 asking the Court to approve it as part of his plea agreement.

 Accordingly, because Petitioner knowingly and voluntarily waived

 his right to appeal or petition for post-conviction relief on

 incompetence of counsel at sentencing and the instant motion

 requests relief based on his counsel’s performance at sentencing,

 Petitioner’s motion is DENIED.


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      Even if the Petitioner had not waived his right to post-

 conviction relief, Petitioner‘s claim would still fail. Under

 Strickland v. Washington, 466 U.S. 668, 687-91 (1984), Petitioner

 must show both that his counsel was incompetent and that, but for

 his deficient performance, the result would have been different.

 See, e.g., Bridgeman v. United States, 229 F.3d 589, 592 (7th Cir.

 2000).

      Here, the record does not show that counsel was incompetent in

 any way during sentencing (or any other aspect of the case). Not

 only did defense counsel successfully negotiate a plea agreement

 where Petitioner would receive a reduction in offense level and

 dismissal of a charge in the superceding indictment, but, in

 addition,   Petitioner    received    the   minimum   sentence     under      the

 guidelines. Notably, the Court is not aware of any cases treating

 a lawyer’s failure to raise one argument in support of a lower

 sentence as ineffective assistance of counsel where the lawyer had

 already negotiated a plea agreement that provided for a reduction

 in offense level and offered grounds that persuaded the Court to

 sentence the defendant to the minimum under the guideline range.

      In addition, in this circuit, a defendant’s status as a

 deportable alien is only relevant where “it may lead to conditions

 of   confinement    or   other   incidents    of     punishment        that   are

 substantially more onerous than the framers of the guidelines

 contemplated in fixing the punishment range for the defendant’s


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 offense.”    U.S. v. Gallo-Vasquez, 284 F.3d 780, 784 (7th Cir.

 2002)(citing U.S. v. Guzman, 236 F.3d 830, 834 (7th Cir. 2001); see

 also U.S. v. Meza-Urtado, 351 F.3d 301, 305 (7th Cir. 2003); United

 States v. Farouil, 124 F.3d 838, 847 (7th Cir. 1997). Merely

 because a defendant is deportable does not entitle him or her to a

 reduced   sentence.     See,   e.g.,    Meza-Urtado,      351     F.3d     at    304;

 Salcido-Cruz v. U.S., No. 02 C 8951, 2005 WL 1270047, *6-7 (N.D.

 Ill. May 25, 2005)(“[D]epartures based on a defendant’s status as

 a   deportable    alien[]   are   not   made    as   a   matter    of     course”);

 Hernandez v. United States, 2001 WL 243294, *2 (S.D. Ind. January

 26, 2001)(“In this case, there is no chance that Hernandez would

 have received an even lighter sentence if his attorney had added

 the deportable alien status to the already substantial grounds

 argued (and accepted) for a downward departure.”).

       Here, Petitioner argues that just because he may be deported

 he is entitled to a lower sentence. That is not the law. Id. If it

 were “any alien who commits a crime should receive a shorter

 sentence than a citizen. Such a rule would invite aliens who did

 not want to live in the United States to come here to commit

 crimes.” Guzman, 236 F.3d at 833-34.

       Moreover,    to   the    extent       Petitioner    contends        that   his

 ineligibility to serve his sentence in a minimum security facility

 entitles him to a reduced sentence, the Seventh Circuit has

 likewise already rejected this argument. See Guzman, 236 F.3d at


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 834; Meza-Urtado, 351 F.3d at 304. And Petitioner’s vague reference

 to other “collateral consequences [ ] necessarily based on [his]

 status as an alien” does not entitle him to a lighter sentence

 because     Petitioner    must   establish    specific      conditions      of

 confinement that are “substantially more onerous than the framers

 of the guidelines contemplated.” See Gallo-Vasquez, 284 F.3d at

 784-85 (requiring district court to make specific findings on “how

 the defendant’s conditions of confinement would differ as a result

 of his alienage and whether those differences would have made the

 defendant’s sentence more onerous than was contemplated by the

 framers of the Sentencing Guidelines”).

          Because Petitioner cannot show, nor can this Court discern

 how Petitioner’s sentence is “substantially more onerous” than the

 guidelines contemplate, there is no chance Petitioner would have

 received a lighter sentence based on his status as a deportable

 alien.     Accordingly,   Petitioner’s     attorney     did     not    render

 ineffective assistance of counsel. Therefore, even if Petitioner

 had not waived his right to post-conviction relief based on his

 counsel’s performance at sentencing, his motion would still be

 denied.




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 CONCLUSION

      For the foregoing reasons, Petitioner’s motion is DENIED. The

 Clerk is ORDERED to close the civil docket file.



 DATED: August 3, 2007                     /s/ RUDY LOZANO, Judge
                                           United States District Court




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